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     Federal Defender
 2   Lexi Negin, D.C. Bar #446153
     Assistant Federal Defender
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     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     RONNIE JAMES WILLIAMS
 6
 7                                IN THE UNITED STATES DISTRICT COURT
 8                             FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                      )   CASE NO. CR-S-07-483 (LKK)
10                                                  )
                           Plaintiff,               )
11                                                  )   ORDER AFTER HEARING
            v.                                      )
12                                                  )
                                                    )   JUDGE: Lawrence K. Karlton
13   CHARLES GOODEN,                                )
     RONNIE JAMES WILLIAMS                          )
14   CHARLES DEMARIO JOHNSON                        )
     DARENCE LAMONT JORDAN                          )
15   TRAVIS DAVIS                                   )
                                                    )
16                     Defendants.                  )
     _______________________________
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                 This matter came on for Status Conference on November 14, 2007, in the courtroom of the
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     Honorable Lawrence K. Karlton, Senior Judge. Assistant United States Attorney Russell Carlberg
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     appeared on behalf of the United States of America. Assistant Federal Defender Lexi Negin appeared on
20
     behalf of Defendant Ronnie Williams, who was present in custody, Attorney Robert Peters appeared on
21
     behalf of Defendant Charles Demario Johnson, who was present and in custody, Attorney James Greiner
22
     appeared on behalf of Defendant Darence Lamont Jordan, who was present and in cutstody, Attorney Dan
23
     Koukol appeared on behalf of Travis Davis, who was present and in custody, and Attorney John Manning
24
     appeared on behalf of Aimee Lee Cox, who was present and in custody.
25
            All parties agreed that defense counsel need additional time for investigation, review of discovery
26
     and to prepare a defense of the case. The government proffered that more discovery is to be provided
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28   Order After Hearing
                Case 2:07-cr-00483-TLN Document 35 Filed 12/14/07 Page 2 of 2


 1   including audio and video taped materials.
 2           A further status conference date of January 15, 2008, is set.
 3          Accordingly, the parties agreed to exclude time from calculation under the Speedy Trial Act for
 4   the reasons stated above, pursuant to 18 U.S.C. §3161 (h)(8)(B)(iv) and Local Code T4 for preparation of
 5   counsel, from November 14, 2007, up until and including January 15, 2008.
 6          Good cause appearing therefor,
 7          IT IS ORDERED that this matter is continued to January 15, 2008, at 9:30 a.m. for Status
 8   Conference.
 9          IT IS FURTHER ORDERED that pursuant to 18 U.S.C. §3161 (h)(8)(B)(iv) and Local Code T4,
10   the period from November 14, 2007, up to and including January 15, 2008, is excluded from the time
11   computations required by the Speedy Trial Act due to case complexity and ongoing preparation of
12   counsel.
13   Dated: December 13, 2007
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     Order After Hearing                                  2
